Case 2:02-cr-20041-SH|\/| Document 345 Filed 07/14/05 Page 1 of 2 P'age|D 458

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IN THE UNITED STATES DISTRICT COURT

FOR TI'IE WESTERN DISTRICT OF TENNESSEE 05 JUL | AH"; nfl

WESTERN DIVISION

 

`I'FUWB‘M.'GSU.D
UNITED sTATES oF AMERICA, § CLEW;~D{{)J§:“SWM
Plaintiff, )
vs. § cR. No. 02-20041-Ma
TYRONE JONES, §
RoNALD McNEIL, )
Defendants. §

 

ORDER ON CONTINUANCE AND SPECIFYING PER.IOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion before the 6th
Circuit Court of Appeals.

The Court granted the request and continued the trial date to
the rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B}(iv) and 3161(h)(1)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

IT IS SO ORDERED this lsi¢; day of July, 2005.

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This doc\L ment entered on the docket Sheet in com 1!3WUEL H~ MAYS l JR -
with H.l|e 55 and/or 32rb\ FF\CrP On 2' f §'SU'NITED STATES DIS'I'RICT JUDGE

 

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This notice confirms a copy of the document docketed as number 345 in
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US DISTRICT COURT

